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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA                      §
  Plaintiff,                                  §
                                              §
v.                                            §      CAUSE NO. 5:12-cr-2006 RB
                                              §
CORINA ANGELA CHAVEZ,                         §
  Defendant.                                  §

       DEFENDANT’S SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
                       COMPASSIONATE RELEASE

       Defendant Corina Angela Chavez respectfully submits this supplemental brief addressing

two primary issues warranting a sentence reduction: (1) the sentencing disparity caused by the

distinction between pure methamphetamine and a mixture of methamphetamine, and (2) her

significant medical issues that have not been adequately treated while in custody. Chavez argues

that both issues present extraordinary and compelling reasons for a reduction in sentence.

                                      LEGAL STANDARD

       Pursuant to 18 U.S.C. § 3582(c)(1)(A), a court may reduce a defendant’s sentence if

“extraordinary and compelling reasons” warrant such a reduction. The Sentencing Commission’s

policy statements allow courts to consider policy-based disparities and medical neglect as valid

reasons for sentence modifications. Kimbrough v. United States, 552 U.S. 85, 109, 128 S. Ct.

558, 169 L. Ed. 2d 481 (2007), further supports a district court’s discretion in deviating from

guidelines that are not grounded in empirical data. Additionally, failure to provide adequate

medical care may independently justify compassionate release.

       SENTENCING DISPARITY CAUSED BY METHAMPHETAMINE PURITY

       The U.S. Sentencing Guidelines impose significantly harsher sentences for offenses

involving “actual” (pure) methamphetamine compared to methamphetamine mixtures. This
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disparity is not based on empirical evidence but rather outdated assumptions regarding drug

purity and culpability. Courts, including the District of New Mexico in United States v. Ibarra-

Sandoval, 265 F. Supp. 3d 1249, 1252–53 (D.N.M. 2017), have acknowledged that

methamphetamine purity does not necessarily indicate a defendant’s role in the drug trade.

Moreover, the Supreme Court has recognized that district courts have the authority to disagree

with Guidelines that create unwarranted disparities (Kimbrough, 552 U.S. 85).

       The Government argues that the same offense levels for methamphetamine mixture and

methamphetamine purity remain in effect and that Chavez’s sentence was properly calculated.

       However, purity-based distinctions disproportionately impact low-level offenders. A

defendant involved in distribution at a street level may still be sentenced as if they were a major

trafficker simply because the substance tested at a higher purity level. This policy undermines

fairness in sentencing, and courts have broad discretion to correct such disparities. The rigid

application of purity guidelines without consideration of the defendant’s actual role in the drug

trade results in punishments that exceed what is just and proportional. Chavez’s sentencing was

predicated on a formula that fails to consider these realities, further justifying a sentence

reduction.

       While the Government argues that Chavez played a significant role, her interactions with

co-defendants indicate that she was operating at the direction of higher-level figures in the

conspiracy rather than coordinating logistics herself. The fact that she made deliveries, or relayed

information does not equate to an organizing role.

       Furthermore, her prior criminal record reflects addiction-driven offenses rather than the

calculated leadership expected of a major trafficker. Her history includes minor retail-level drug

transactions and financial offenses, suggesting that she was more of a low-level participant
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caught within larger operations. The sentencing enhancement applied to her was, therefore,

disproportionate and further supports the argument that she was over-penalized under the

methamphetamine purity guidelines.

 CHAVEZ’S SEVERE MEDICAL CONDITIONS AND FAILURE OF TREATMENT IN
                          BOP CUSTODY

       Chavez suffers from chronic and debilitating medical conditions, including urinary and

stool incontinence. Her medical records document repeated complaints and multiple requests for

appropriate treatment, yet she has received inadequate care. The Government contends that her

medical conditions have been treated adequately and do not constitute “extraordinary and

compelling” circumstances warranting release. However, the records indicate otherwise.

       According to medical records, Chavez has made multiple requests for medical

evaluations, including specialist referrals, but these requests have either been ignored or

excessively delayed. Records confirm that she has been prescribed treatments that have proven

ineffective and recommended urgent specialist intervention has yet to occur.

       Medical neglect cases are particularly compelling under the compassionate release

framework. The court in United States v. Beck, 425 F. Supp. 3d 573 (M.D.N.C. 2019), ruled that

failure to provide proper medical care may justify a sentence reduction, particularly where

conditions have worsened due to lack of intervention. Chavez’s situation falls within this

framework. Repeated instances of untreated infections, mobility issues, and persistent pain

reflect a pattern of systemic neglect that violates basic standards of inmate healthcare.

       Further, Chavez’s deteriorating health conditions place her at a high risk of further

medical complications. The continued lack of access to specialized medical attention, despite

multiple formal grievances, constitutes an extraordinary and compelling reason for release.

Courts have granted compassionate release in similar cases where defendants’ medical needs
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were ignored despite documented efforts to seek treatment. See, e.g., Beck, 425 F. Supp. 3d 573;

United States v. McGraw, No. 2:02-cr-00018-LJM-CMM (S.D. Ind. May. 9, 2019). Chavez’s

case aligns with these precedents and warrants serious consideration.

       The Government’s argument that Chavez has received adequate treatment fails to address

the frequency and severity of her complications. While she has received some medical attention,

it has been sporadic and incomplete. A diagnosis without necessary follow-up care does not

constitute adequate treatment, and the delays in receiving critical interventions have exacerbated

her suffering. Given her continued deteriorating condition and the failure of the BOP to provide

timely, effective medical care, compassionate release is warranted.

                                        CONCLUSION

       For the foregoing reasons, Defendant Chavez respectfully requests that the Court grant a

sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A) due to the unwarranted sentencing

disparity caused by the methamphetamine purity distinctions in the U.S. Sentencing Guidelines

and the Bureau of Prisons’ failure to provide adequate medical care for her chronic conditions.



                                                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that, on February 19, 2025, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which shall send notification of such filing to all

parties.

                                                           /s/ Felix Valenzuela
